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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


 In re:                                                      Chapter 7

 JOHN T. MCMAHAN,                                            Case No. 18-14064

                    Debtor.                                  Honorable Janet S. Baer


                                     NOTICE OF MOTION

        Please take notice that on August 27, 2024 at 10:00 a.m., or as soon thereafter as counsel
may be heard, we will appear before the Honorable Janet S. Baer, United States Bankruptcy Judge,
or any judge sitting in that judge’s plan, either in Courtroom 615 of the Everett McKinley Dirksen
United States Courthouse, 219 S. Dearborn St., Chicago, IL 60604 or electronically as described
below, and present the MOTION TO AMEND ORDER GRANTING IN PART SEVENTH
INTERIM FEE APPLICATION OF HORWOOD MARCUS & BERK CHARTERED AND
KILPATRICK TOWNSEND & STOCKTON LLP FOR COMPENSATION FOR
SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO
THE CHAPTER 7 TRUSTEE FOR THE PERIOD OF DECEMBER 1, 2023, TO MARCH
31, 2024, a copy of which is attached.

       Important: Only parties and their counsel may appear for presentment of the motion
electronically using Zoom for Government. All others must appear in person.

        To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/. Then
enter the meeting ID and passcode.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or
1-646-828-7666. Then enter the meeting ID and passcode.

        Meeting ID and password. The meeting ID for this hearing is 160 731 2971 and the
password is 587656. The meeting ID and password can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

Dated: August 19, 2024                       Respectfully submitted,

                                             KILPATRICK TOWNSEND & STOCKTON
                                             LLP

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                                       /s/ Aaron L. Hammer
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


 In re:                                                     Chapter 7

 JOHN T. MCMAHAN,                                           Case No. 18-14064

                    Debtor.                                 Honorable Janet S. Baer



   MOTION TO AMEND ORDER GRANTING IN PART SEVENTH INTERIM FEE
      APPLICATION OF HORWOOD MARCUS & BERK CHARTERED AND
    KILPATRICK TOWNSEND & STOCKTON LLP FOR COMPENSATION FOR
 SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO
             THE CHAPTER 7 TRUSTEE FOR THE PERIOD OF
                 DECEMBER 1, 2023, TO MARCH 31, 2024

          Horwood Marcus & Berk Chartered (“HMB”) and Kilpatrick Townsend & Stockton LLP

(“KTS,” and together with HMB, the “Applicants”), counsel to Thomas E. Springer, not

individually but as chapter 7 trustee (the “Trustee”) for the John T. McMahan bankruptcy estate

(the “Estate”), hereby submits this Motion to Amend Order Granting in Part Seventh Interim Fee

Application of Horwood Marcus & Berk Chartered and Kilpatrick Townsend & Stockton LLP for

Compensation for Services Rendered and Reimbursement of Expenses as Counsel to the Chapter

7 Trustee for the Period of December 1, 2023, to March 31, 2024 (this “Motion”) for entry of an

order: (i) amending the Order Granting in Part Seventh Interim Fee Application of Horwood

Marcus & Berk Chartered and Kilpatrick Townsend & Stockton LLP for Compensation for

Services Rendered and Reimbursement of Expenses as Counsel to the Chapter 7 Trustee for the

Period of December 1, 2023, to March 31, 2024 (the “Seventh Interim Fee Application Order”)

[Dkt. No. 509] to correct a mathematical calculation error reflected from the Seventh Interim Fee

Application of Horwood Marcus & Berk Chartered and Kilpatrick Townsend & Stockton LLP for




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Services Rendered and Reimbursement of Expenses as Counsel to the Chapter 7 Trustee for the

Period of December 1, 2023, through March 31, 2024 (the “Seventh Interim Fee Application”)

[Dkt. No. 495]; and (ii) granting any additional and further relief as this Court deems just and

equitable. In support of this Motion, the Trustee respectfully represents as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). Venue

is proper under 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding under 28 U.S.C.

§ 157(b)(2).

                                        BACKGROUND

        2.      On May 14, 2018 (the “Petition Date”), John T. McMahan (the “Debtor”) filed a

voluntary petition for relief under chapter 7 of title 11 of the United States Code (the “Bankruptcy

Code”), thereby commencing the above-styled case (the “Bankruptcy Case”). [Dkt. No. 1].

        3.      Thomas E. Springer was appointed by the Office of the United States Trustee as

the chapter 7 trustee to oversee and administer property of the Estate on May 17, 2018 [Dkt. No.

9].

        4.      On September 10, 2018, HMB filed its Motion and Application to Employ Horwood

Marcus & Berk Charted as General Co-Counsel to the Trustee (the “Application to Employ”)

[Dkt. No. 72], and an Order Granting Application to Employ (the “HMB Retention Order”) was

entered on September 20, 2018 [Dkt. No. 81].

        5.      On January 17, 2024, HMB filed its monthly interim compensation statement for

December 2023, requesting $7,138.00 in fees. [Dkt. No. 453].

        6.      On February 7, 2024, HMB filed its monthly interim compensation statement for

January 2024, requesting $23,341.50 in fees and $1,308.29 in expenses, seeking a total of

$24,649.79. [Dkt. No. 456].


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        7.       On March 14, 2024, HMB filed its monthly interim compensation statement for

February 2024, requesting $22,358.00 in fees and $275.20 in expenses, seeking a total of

$22,633.20. [Dkt. No. 467].

        8.       On March 15, 2024, Aaron L. Hammer filed his Supplemental Declaration of Aaron

L. Hammer on Behalf of Kilpatrick Townsend & Stockton LLP and its Attorneys, Counsel to

Thomas E. Springer, Chapter 7 Trustee [Dkt. No. 468], stating that following a transaction

between HMB and KTS, all HMB employees became employees of KTS, effective March 1, 2024.

        9.       On March 28, 2024, HMB filed its amended monthly interim compensation

statement for February 2024, requesting $22,358.00 in fees and $114.64 in expenses, seeking a

total of $22,472.64. [Dkt. No. 475].

        10.      On April 25, 2024, KTS filed its monthly interim compensation statement for

March 2024, requesting $30,967.00 in fees. [Dkt. No. 489].

        11.      On May 13, 2024, KTS filed its amended monthly interim compensation statement

for March 2024, requesting $29,049.50 in fees. [Dkt. No. 490].

        12.      As such, during the period of December 1, 2023 through March 31, 2024 (the

“Seventh Interim Period”), KTS and HMB incurred the following expenses and fees:

                                                              HMB        KTS
             December Fees                                     $7,138.00     --
             December Expenses                                    --         --
             January Fees                                     $23,341.50     --
             January Expenses                                  $1,308.29     --
             February Fees                                    $22,358.00     --
             February Expenses                                   $114.64     --
             March Fees                                           --     $29,049.50
             March Expenses                                       --         --


        13.      In sum, during the Seventh Interim Fee Period, HMB incurred $52,837.50 in fees

and $1,422.93 in expenses, and KTS incurred $29,049.50 in fees (and $0.00 in expenses).


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        14.     On May 17, 2024, HMB and KTS filed its Seventh Interim Fee Application.

However, while the narrative section of the Seventh Interim Fee Application accurately lists the

fees and expenses during the Seventh Interim Fee Period (pages 9-10), other portions of the

Seventh Interim Fee Application, including the cover sheet and the proposed order, incorrectly list

$54,260.43 as the fees incurred by HMB (instead of $52,837.50) and, correspondingly, $4,712.24

(instead of $4,569.95) as the outstanding balance owed to HMB.

        15.     At the June 11, 2024 hearing on the Seventh Interim Fee Application, the Court

granted the Seventh Interim Fee Application in part on a reduced basis of $3,000.00 less in fees

owed to HMB and requested counsel for the Applicants to file a modified proposed order reflecting

such.

        16.     On the same day, the Applicants filed a revised proposed order on the Seventh

Interim Fee Application. [Dkt. No. 505].

        17.     However, because the revised proposed order was based on the original proposed

order attached to the Seventh Interim Fee Application, the revised proposed order also contains

the incorrect amount of (reduced) fees owed to HMB of $51,260.43 ($54,260.43 - $3,000.00)

instead of $49,837.50 ($52,837.50 - $3,000.00) and $1,712.24 ($4,712.24 - $3,000.00) instead of

$1,569.95 as the amount owed to HMB for its outstanding balance. Apart from this error, the

Seventh Interim Fee Application Order is correct.

        18.     A comparison of the Seventh Interim Fee Application Order and the corrected,

amended Seventh Interim Fee Application Order is provided on the following page:




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                              Seventh Interim Fee Application Order

                                                               HMB        KTS
          Fees Awarded                                         $51,260.43 $29,049.50
          Expenses Awarded                                      $1,422.93

          Fees Directed to Pay                                  $1,712.24     $2,904.95
          Expenses Directed to Pay                                $142.29


                        Amended Seventh Interim Fee Application Order

                                                               HMB        KTS
          Fees Awarded                                         $49,837.50 $29,049.50
          Expenses Awarded                                      $1,422.93

          Fees Directed to Pay                                  $1,569.95     $2,904.95
          Expenses Directed to Pay                                $142.29


                                         DISCUSSION

        19.     The Applicants request the entry of an order amending the Seventh Interim Fee

Application Order to correct the mathematical calculation error referenced above. Cause exists to

allow the amendment as the amendment does not change the actual amount of fees or expenses

incurred, or allowed at the reduced $3,000.00 amount, but would simply correct the amounts listed

in the Seventh Interim Fee Application Order to provide an accurate accounting for the Estate.

Accordingly, this Court should enter the amended Seventh Interim Fee Application Order.

        20.     The Applicants have conferred with the Trustee regarding the errors in the Seventh

Interim Fee Application Order, and attached hereto with this Motion is (a) an amended Seventh

Interim Fee Application as Exhibit A with a correct calculation of the amounts incurred and owed

to HMB; (b) a corresponding redline of the Seventh Interim Fee Application and the amended




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Seventh Interim Fee Application as Exhibit B; and (c) an amended Seventh Interim Fee

Application Order as Exhibit C.

                                         CONCLUSION

        WHEREFORE, the Applicants respectfully requests that this Court: (i) enter the amended

Seventh Interim Fee Application Order attached hereto as Exhibit C; and (ii) grant such other and

further relief as the Court deems just or proper.



Dated: August 19, 2024                                     Respectfully submitted,

                                                           KILPATRICK TOWNSEND &
                                                           STOCKTON LLP

                                                           /s/ Aaron L. Hammer
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 19, 2024, I caused a true and correct copy of the

foregoing NOTICE OF MOTION along with its attached MOTION TO AMEND ORDER

GRANTING IN PART SEVENTH INTERIM FEE APPLICATION OF HORWOOD

MARCUS & BERK CHARTERED AND KILPATRICK TOWNSEND & STOCKTON

LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT

OF EXPENSES AS COUNSEL TO THE CHAPTER 7 TRUSTEE FOR THE PERIOD OF

DECEMBER 1, 2023, TO MARCH 31, 2024, to be filed with the Court’s CM/ECF system and

to be served in accordance therewith to all parties receiving electronic noticing.




                                                             By: /s/ Aaron L. Hammer




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